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                                             EXHIBITA

                               UNITED STATES DISTRICT COURT
                                THE DISTRICT OF NEW JERSEY


                                             (MCA)(MAH)
       DEEROECT,INC.,aNe1 No.: 2:16-cv-05562
Jersey Non-Profit Corporation, and RONALD
MOORE, lndMdually,
                               Plaintiffs,
                       V.


             1 LLC, a New Jersey
ALLEN-HOWARD REALTY
Corporation,
                               Defendant

                        STIPULATION FOR DISMISSAI WITH PREJUDICE

                                                           by and between the Attorneys for Plaintiffs,
         IT IS HEREBY STIPULATED AND AGREED,
                                                    Inc. (“Plaintiffs) and the Attorneys for Defendant,
 Ronald Moore and The Independence Project
                                                           hereby dismiss all claims against Defendant
 Allen-Howard Realty, LLC (Defendaflt’), that Plaintiffs
                                               costs and attorney’s fees..
 with prejudice, the parties to bear their own
 Respectfully Submitted,


   S/ \ian \. ickermafl
                                                          s    i. Michael         KesSel

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  SO ORDERED:



                                         Dated:   /U1    .2017




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